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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                          :
 PATRICIA KENNEDY, Individually,
                                          :
            Plaintiff,
                                          :
 v.
                                          :
 SHIVAM & SAAJAN CORP d/b/a COOK’S
                                          : Case No.
 MOTEL,
                                          :
                                          :
             Defendant.
 _______________________________________/ :
                                          :
                                          :
                                          :
                                          :
                                          :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

 SHIVAM & SAAJAN CORP d/b/a COOK’S MOTEL, (sometimes referred to as “Defendant”),

 for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans

 with Disabilities Act, 42 U.S.C. ' 12181 et seq. (ADA).

 1.             Plaintiff is a resident of Broward County, is sui juris, and qualifies as an individual

                with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

                life activity of walking more than a few steps without assistive devices. Instead,

                Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and

                has limited use of her hands. She is unable to tightly grasp, pinch and twist of the

                wrist to operate. When ambulating beyond the comfort of her own home, Plaintiff

                must primarily rely on a wheelchair. Plaintiff requires accessible handicap parking

                spaces located closest to the entrances of a facility. The handicap and access aisles
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             must be of sufficient width so that she can embark and disembark from a ramp into

             her vehicle. Routes connecting the handicap spaces and all features, goods and

             services of a facility must be level, properly sloped, sufficiently wide and without

             cracks, holes or other hazards that can pose a danger of tipping, catching wheels or

             falling. These areas must be free of obstructions or unsecured carpeting that make

             passage either more difficult or impossible. Amenities must be sufficiently lowered

             so that Plaintiff can reach them. She has difficulty operating door knobs, sink

             faucets, or other operating mechanisms that tight grasping, twisting of the wrist or

             pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

             danger of scraping or burning her legs. Sinks must be at the proper height so that

             she can put her legs underneath to wash her hands. She requires grab bars both

             behind and beside a commode so that she can safely transfer, and she has difficulty

             reaching the flush control if it is on the wrong side. She has difficulty getting

             through doorways if they lack the proper clearance.

 2.          Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

             "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

             determining whether places of public accommodation and their websites are in

             compliance with the ADA.

 3.          According to the county property records, Defendant owns a place of public

             accommodation as defined by the ADA and the regulations implementing the ADA,

             28 CFR 36.201(a) and 36.104. The place of public accommodation that the

             Defendant owns is a place of lodging known as Cook’s Motel, 9300 Front Beach


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             Rd. Panama City Beach, FL 32407, and is located in the County of Bay County,

             (hereinafter "Property").

 4.          Venue is properly located in the Southern District of Florida because the actions

             giving rise to this cause took place in this district. The Defendant does business

             within this judicial district.

 5.          Pursuant to 28 U.S.C. ' 1331 and 28 U.S.C. ' 1343, this Court has been given

             original jurisdiction over actions which arise from the Defendant=s violations of

             Title III of the Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq. See also

             28 U.S.C. ' 2201 and ' 2202.

 6.          As the owner of the subject place of lodging, Defendant is required to comply with

             the ADA. As such, Defendant is required to ensure that it's place of lodging is in

             compliance with the standards applicable to places of public accommodation, as set

             forth in the regulations promulgated by the Department of Justice. Said regulations

             are set forth in the Code of Federal Regulations, the Americans With Disabilities

             Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

             incorporated by reference into the ADA. These regulations impose requirements

             pertaining to places of public accommodation, including places of lodging, to

             ensure that they are accessible to disabled individuals.

 7.          More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

             requirement:

             Reservations made by places of lodging. A public accommodation that owns,
             leases (or leases to), or operates a place of lodging shall, with respect to


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                reservations made by any means, including by telephone, in-person, or through a
                third party -
                        (i) Modify its policies, practices, or procedures to ensure that individuals
                        with disabilities can make reservations for accessible guest rooms during
                        the same hours and in the same manner as individuals who do not need
                        accessible rooms;
                        (ii) Identify and describe accessible features in the hotels and guest rooms
                        offered through its reservations service in enough detail to reasonably
                        permit individuals with disabilities to assess independently whether a
                        given hotel or guest room meets his or her accessibility needs;
                        (iii) Ensure that accessible guest rooms are held for use by individuals
                        with disabilities until all other guest rooms of that type have been rented
                        and the accessible room requested is the only remaining room of that type;
                        (iv) Reserve, upon request, accessible guest rooms or specific types of
                        guest rooms and ensure that the guest rooms requested are blocked and
                        removed from all reservations systems; and
                        (v) Guarantee that the specific accessible guest room reserved through its
                        reservations service is held for the reserving customer, regardless of
                        whether a specific room is held in response to reservations made by
                        others.

 8.             These regulations became effective March 15, 2012.

 9.             Defendant, either itself or by and through a third party, implemented, operates,

                controls and or maintains a website for the Property which contains an online

                reservations system. This website is located at:

                http://www.cooksmotel-fl.us/
                https://www.booking.com/hotel/us/cook-s-motel.html
                https://www.priceline.com/hotel-deals/h20994804/US/Florida/Panama-City-
                Beach/Cooks-Motel.html
                https://www.agoda.com/cooks-motel/hotel/panama-city-fl-us.html?cid=-218

        This term also includes all websites owned and operated by Defendant or by third parties

 to book or reserve guest accommodations at the hotel. The purpose of this website is so that

 members of the public may reserve guest accommodations and review information pertaining to

 the goods, services, features, facilities, benefits, advantages, and accommodations of the

 Property. As such, this website is subject to the requirements of 28 C.F.R. Section 36.302(e).

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 10.         Prior to the commencement of this lawsuit, Plaintiff visited the website for the

             purpose of reviewing and assessing the accessible features at the Property and

             ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

             her accessibility needs. However, Plaintiff was unable to do so because Defendant

             failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

             As a result, Plaintiff was deprived the same goods, services, features, facilities,

             benefits, advantages, and accommodations of the Property available to the general

             public. Specifically, the website indicates that the hotel offers various kinds of

             sleeping accommodations, but no information as to whether any of the rooms are

             accessible. Nor does the website contain any information as to whether or where it

             offers compliant/accessible roll-in showers, tubs, built in seating, commodes, grab

             bars, sinks, wrapped pipes, sink and door hardware, properly located amenities,

             sufficient maneuvering spaces, compliant doors, furniture, controls and operating

             mechanisms. In the common areas, the website contains no information as to

             whether there is compliant handicap parking and where said parking is located.

             Nor does Defendant's website contain any information as to whether all goods,

             facilities and services at the property are connected by a compliant accessible

             route. Nor does the website contain any information as to the accessibility of

             routes connecting all the features of the hotel, the transaction counter, common

             area restrooms.

 11.         Plaintiff visited the websites on July 4th, 7th and 25th, 2019 as well as August

             5th, 9th,18th, 19th and 22nd, 2019. In the near future, Plaintiff intends to revisit


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             Defendant's website and/or online reservations system in order to test it for

             compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the website to

             reserve a guest room and otherwise avail herself of the goods, services, features,

             facilities, benefits, advantages, and accommodations of the Property.

 12.         Plaintiff is continuously aware that the subject website remains non-compliant

             and that it would be a futile gesture to revisit the website as long as those

             violations exist unless she is willing to suffer additional discrimination.

 13.         The violations present at Defendant's website infringe Plaintiff's right to travel

             free of discrimination and deprive her of the information required to make

             meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

             frustration and humiliation as the result of the discriminatory conditions present at

             Defendant's website. By continuing to operate a website with discriminatory

             conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

             and deprives Plaintiff the full and equal enjoyment of the goods, services,

             facilities, privileges and/or accommodations available to the general public. By

             encountering the discriminatory conditions at Defendant's website and knowing

             that it would be a futile gesture to return to the website unless she is willing to

             endure additional discrimination, Plaintiff is deprived of the same advantages,

             privileges, goods, services and benefits readily available to the general public.

             By maintaining a website with violations, Defendant deprives Plaintiff the

             equality of opportunity offered to the general public.




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 14.         Plaintiff has suffered and will continue to suffer direct and indirect injury as a

             result of the Defendant’s discrimination until the Defendant is compelled to

             modify its website to comply with the requirements of the ADA and to

             continually monitor and ensure that the subject website remains in compliance.

 15.         Plaintiff has a realistic, credible, existing and continuing threat of discrimination

             from the Defendant=s non-compliance with the ADA with respect to this

             website. Plaintiff has reasonable grounds to believe that she will continue to be

             subjected to discrimination in violation of the ADA by the Defendant.

 16.         The Defendant has discriminated against the Plaintiff by denying her access to,

             and full and equal enjoyment of, the goods, services, facilities, privileges,

             advantages and/or accommodations of the subject website.

 17.         The Plaintiff and all others similarly situated will continue to suffer such

             discrimination, injury and damage without the immediate relief provided by the

             ADA as requested herein.

 18.         Defendant has discriminated against the Plaintiff by denying her access to full and

             equal enjoyment of the goods, services, facilities, privileges, advantages and/or

             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. ' 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

             Defendant continues to discriminate against the Plaintiff, and all those similarly

             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with


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              disabilities; and by failing to take such efforts that may be necessary to ensure that

              no individual with a disability is excluded, denied services, segregated or

              otherwise treated differently than other individuals because of the absence of

              auxiliary aids and services.

 19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

              Plaintiff has retained the undersigned counsel and is entitled to recover attorney=s

              fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. '

              12205 and 28 CFR 36.505.

 20.          Pursuant to 42 U.S.C. ' 12188, this Court is provided with authority to grant

              Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

              subject website to make it readily accessible and useable to the Plaintiff and all

              other persons with disabilities as defined by the ADA and 28 C.F.R. Section

              36.302(e); or by closing the website until such time as the Defendant cures its

              violations of the ADA.

 WHEREFORE, Plaintiff respectfully requests:

       a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. ' 12181 et seq. and 28 C.F.R. Section 36.302(e).

       b.     Injunctive relief against the Defendant including an order to revise its website to

              comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

              maintain the website to ensure that it remains in compliance with said requirement.




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        c.     An award of attorney=s fees, costs and litigation expenses pursuant to 42 U.S.C.

               ' 12205.

        d.     Such other relief as the Court deems just and proper, and/or is allowable under

               Title III of the Americans with Disabilities Act.




 Respectfully Submitted,



                                                             Thomas B. Bacon Esquire
 Althea M. Campbell, Esquire                                 Thomas B. Bacon, P.A.
 Of Counsel                                                  644 North Mc Donald St.
 Thomas B. Bacon P.A.                                        Mt. Dora, FL 32757
 210 N University Drive, Suite 504                           ph. (954) 478-7811
 Coral Springs, FL 33071                                     tbb@thomasbaconlaw.com
 Tel: (954) 717-1646                                         Florida Bar. Id. No. 139262
 Email: amcpleadings@gmail.com




 By:_/s/ Althea M. Campbell
     Althea M. Campbell, Esquire




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